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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

REPUBLIC MAXIMAL LLC, et al.,

Plaintiffs,

Vv. C.A. No. 22-cv-10429-MLW

ROMULUS CAPITAL PARTNERS II,
LLC, et al.,

Defendants.
MEMORANDUM AND ORDER
WOLF, D.Jd. October 17, 2024
I. SUMMARY

This case arises from a series of transactions brokered by
defendant Romulus Capital Partners II, LLC, and its related
entities (jointly, “Romulus”), through which plaintiff Republic
Maximal, LLC, and its affiliates (jointly, “Republic”), purchased
limited partnership interests (“LP Interests”) in Romulus
EquipmentShare Growth LP (the “Series A Fund”), an entity created
to invest in a start-up called EquipmentShare, from three
defendants (the “Transferors”). In 2022, Republic filed the first
complaint in this case, alleging that Romulus induced Republic to
purchase the Transferors’ LP Interests in the Series A Fund by
fraudulently misrepresenting that the Transferors held a far

greater percentage of the Series A Fund’s total LP Interests than
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they actually held, causing Republic to suffer tens of millions of
dollars in damages.

Romulus moved to dismiss the complaint, which alleged
violations of federal and state law. The court denied Romulus'
motion to dismiss the federal claims, which if granted would have
required dismissal of Republic's pendent state law claims without
prejudice.

Romulus subsequently filed a motion for leave to seek an
interlocutory appeal of the denial of its motion to dismiss the
federal claims, and Republic filed a motion to amend the complaint.
The court allowed both motions, finding that the new allegations
in the Amended Complaint did not affect its decision to authorize
Romulus to seek an interlocutory appeal.

Republic has filed a motion to file a Second Amended
Complaint, which Romulus opposes. Romulus has moved to _ stay
proceedings in this court until the Pirst Circuit decides whether
to accept its appeal and, if it does, until the appeal is decided.

For the reasons explained below, Republic's motion to amend
is being denied without prejudice and Romulus' motion to stay is

being denied.
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II. PROCEDURAL HISTORY}!

On March 22, 2022, Republic filed its initial complaint,
alleging violations of §10(b) and §20(a) of the Securities and
Exchange Act of 1934 (the "Exchange Act"), and eleven state law
claims. Dkt. No. 1. On May 24, 2022, Romulus moved to dismiss,
arguing, among other things, that Republic did not allege that any
fraudulent representations were made in the contracts governing
the LP Interest transactions, which are known as "Transfer
Agreements," and that any allegedly fraudulent extracontractual
representations could not be considered because of a provision in
each contract disclaiming reliance on extracontractual
representations. Dkt. No. 27. Republic did not move to amend its
complaint to address this defense. Instead, it filed an opposition
to the motion to dismiss. Dkt. No. 33.

On February 1, 2024, the court held a hearing on the motion
to dismiss Republic's federal claims.

At a February 28, 2024 hearing, the court denied the motion
to dismiss Republic's federal claims. Dkt. No. 67 at 5-23. The
court's oral decision was converted into a June 25, 2024 Memorandum
and Order memorializing and amplifying the court's reasoning. Dkt.
No. 91-1. In essence, the court reasoned that the First Circuit

had, in Rogen v. Ilikon Corporation, 361 F.2d 260 (lst Cir. 1967),

1 The background of this case is described in greater detail in
several prior Memoranda and Orders. See Dkt. Nos. 91, 92, 100.

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rejected the contention that a defendant alleged to have committed
fraud in a case involving the sale of securities can invoke a non-
reliance clause to establish a plaintiff's non-reliance as a matter
of law. Rogen's holding was premised on its interpretation of
§29(a) of the Exchange Act, codified at 18 U.S.C. §78cc(a), which
States that a contractual provision binding any person to waive
compliance with any provision of the Exchange Act is void. Dkt.
No. 91-1 at 14-15.

In denying the motion to dismiss, the court noted that its
ruling was consistent with the Third Circuit's jurisprudence. Id.

at 15, 16 (citing AES Corporation v. Dow Chemical Company, 325

F.3d 174 (3d Cir. 2003)). The court acknowledged, however, that

two cases decided by the First Circuit after Rogen—Kennedy v.

Josephthal & Co., Inc., 814 F.2d 798, 801, 804-05 (1st Cir. 1987),

and Jackvony v. RIHT Financial Corporation, 873 F.2d 411, 416 (1st

Cir. 1989)—-arguably raised a question concerning the continued
validity of Rogen. Id. at 15-16; June 25, 2024 Mem. And Order (Dkt.
No. 91) at 7-10, 15-16.

In addition, in authorizing Romulus to seek an interlocutory
appeal, the court wrote that:

The federal courts are also split on this issue. The
Romulus defendants have cited cases in which the Second,
Seventh, and D.C. Circuits held, on motions to dismiss,
that mnon-reliance clauses barred plaintiffs from
plausibly alleging the essential reliance element of a
Section 10(b) claim. See ATSI Communications, Inc. v.
The Shaar Fund, Ltd., 493 F.3d 87, 105 (2d Cir. 2007);

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Cornielsen v. Infinium Capital Management, LLC, 916 F.3d
989, 597 (7th Cir. 2019); One-O-One Enters., Inc. v.
Caruso, 848 F.2d 1283, 1287 (D.c. Cir. 1988). As
discussed earlier, these decisions conflict with the
First Circuit's decision in Rogen and the Third
Circuit's decision in AES Corporation. Indeed, this
court noted at the February 1, 2024 hearing that, if it
were in the Second Circuit, it would likely dismiss
Plaintiffs' Section 10(b) claim. See February 1, 2024
Hr'g Tr. 58:20-23.

Dkt. No. 91 at 17.

On February 29, 2024, the court entered the parties' jointly
proposed Scheduling Order. Dkt. No. 62. It established an April
29, 2024 deadline for filing any motion to amend the complaint.
Id. @ 2.

On March 22, 2024, Romulus moved to certify for interlocutory
appeal the decision denying its motion to dismiss. Dkt. No. 69. On
April 5, 2024, Republic opposed that request, proposing to amend
its complaint to add a theory of fraud within the four corners of
the Transfer Agreements, namely in the partial sentence: "the
Transferor is a Limited Partner with a Subscription in the
Partnership[.}]" Dkt. No. 72 at 9 (emphasis and brackets in
original). On April 17, 2024, Romulus filed a Reply arguing that
this new allegation failed to state a claim. Dkt No. 80. Republic
was, therefore, put on notice that its yet-to-be-filed amended
complaint might be deficient if that were the only intracontractual
misrepresentation alleged. Nevertheless, on April 29, 2024,

Republic filed its proposed Amended Complaint, which included the
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partial sentence quoted above as the only allegation of
intracontractual fraud. Dkt. No. 81.

On June 25, 2024, the court granted Republic's motion to
amend. However, consistent with Romulus' argument, the court held
that the new pleading "failed to plausibly allege that Romulus
made material misrepresentations within the four corners of the
Transfer Agreements." Dkt. No. 91 at 21. The court, therefore,
certified its prior decision denying the motion to dismiss for
interlocutory appeal pursuant to 28 U.S.C. §1292(b). Dkt. No. 91.

In authorizing the interlocutory appeal, the court wrote that
the non-reliance clause issue was a "difficult and pivotal question
[] of law not settled by controlling authority." Id. at 15-16

(quoting Caraballo-Seda v. Municipality of Hormigueros, 395 F.3d

7, 9 (1st Cir. 2005)). The court also found that there are grounds
for substantial difference of opinion, both within the First
Circuit and among the Federal Circuits, regarding the weight that
courts should give contractual non-reliance clauses in §10(b)
cases. Id. at 16-18.

Finally, the court held that an immediate appeal "may
materially advance the ultimate termination of this litigation,"
id. at 18, because if this court's decision on the motion to
dismiss is reversed, the federal claims will be dismissed and the
pendent state law claims will have to be dismissed without

prejudice to being refiled in state court pursuant to 28 U.S.C.

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.$1367 and Wilber v. Curtis, 872 F.3d 15, 23 (lst Cir. 2017). Id.

at 18-19.

Romulus timely asked the First Circuit for permission to
pursue an interlocutory appeal.

However, to address the foreseeable claim that the request to
file an interlocutory appeal of the denial of the motion to dismiss
the original complaint was moot as a result of the June 18, 2024
allowance of Republic's Motion to Amend, on July 1, 2024, Romulus
filed a combined motion to dismiss the Amended Complaint and
renewed motion for authorization to seek an interlocutory appeal.
Dkt. No. 93. Romulus requested denial of its renewed motion to
dismiss on the grounds that its original motion to dismiss was
denied and authorization to seek interlocutory appeal based on the
court's earlier reasoning. Id.

On July 15, 2024, Republic filed an opposition to Romulus'
motion. See Dkt. No. 95. In its Opposition, Republic argued that
the court had wrongfully decided that the Amended Complaint did
not state a claim of intracontractual misrepresentations on which
relief could be granted. In making this argument, Republic asserted
a different theory of intracontractual fraud than it advanced in
opposition to Romulus's first interlocutory appeal motion,
claiming that the statement concerning Subscriptions "purchased

for a total of [X]" in the Transfer Agreements was fraudulent. See
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Dkt. No. 95. Therefore, Republic also again asked the court not to
recertify an interlocutory appeal. Id.

In its Reply, Romulus noted that this new allegation of
intracontractual fraud was not included in the Amended Complaint.
See Dkt. No. 96-1 at 3-5. However, Republic did not move to file
a Second Amended Complaint to include the new allegation.

In an August 15, 2024 Memorandum and Order, the court denied
Republic's renewed motion to dismiss and allowed the renewed motion
for interlocutory appeal for the reasons stated in the June 25,
2024 Memorandum and Order. Dkt. No. 100 at 13-14.

In doing so, the court found that Republic was, in effect,
asking the court to reconsider its decision to authorize Romulus
to seek an interlocutory appeal based on an argument that it could
and should have made earlier, which was improper in the

Circumstances of the case. Id. at 10-11 (quoting Villanueva v.

United States, 662 F.3d 124, 128 (lst Cir. 2011)). The court also

found that Republic's new theory of fraud was not pled with the
particularity required by Federal Rule of Civil Procedure 9(b).
Id. at 11-12.

In addition, the court wrote:

An interlocutory appeal of the court's determination
that the non-reliance clauses do not’ establish
Plaintiffs' non-reliance as a matter of law for the
purposes of deciding the motion to dismiss remains
appropriate for the reasons stated in the Certification
Order. See id. at 14-21. If the First Circuit reverses
this court and holds that Plaintiffs cannot plead
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reliance on extracontractual statements, Plaintiffs may
file a second motion to amend to add allegations
supporting their latest theory of intracontractual
fraud, which the Romulus Defendants will likely oppose.
The court will then determine whether to allow or deny
the motion pursuant to Federal Rule of Civil Procedure
15(a) (2), considering whether it is ‘characterized by
‘undue delay, bad faith, futility, [or] the absence of
due diligence on the movant’s part." Calderon-Serra v.
Wilmington Trust Co., 715 F.3d 14, 19 (lst Cir. 2013)
(quoting Palmer v. Champion Mortg., 465 F.3d 24, 30 (1st
Cir. 2006)).

Id. at 12 (emphasis added).

The August 15, 2024 Memorandum and Order should have
communicated to Republic that the court would not consider a motion
to file a Second Amended Complaint until the First Circuit has
acted on the request for an interlocutory appeal. Nevertheless, on
August 30, 2024, Republic moved to amend again, asserting its
theory of fraud based on different language in the Subscription
Agreements. Dkt. No. 103.

Romulus filed an Opposition to the motion to amend, arguing,
among other things, that the motion to amend is subject to Federal
Rule of Civil Procedure 16's "good cause" requirement and fails to
meet it or the more liberal Rule 15 standard. Dkt. No. 106 at 5-
11. The Transferors moved to join Romulus’ opposition. Dkt. No.
108. Romulus also moved for a stay pending appeal, see Dkt. No.

104, which Republic opposed, see Dkt. No. 107.
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II. ANALYSIS

The pending motions to amend and to stay proceedings in this
court pending appeal are integrally related. Therefore, the court
is discussing them together.

Republic's motion to file a Second Amended Complaint is in
effect another request that the court reconsider and reverse its
decision to certify an interlocutory appeal. The court again finds
that request does not meet the requirements for reconsideration.
As the court wrote in the August 15, 2024 Memorandum and Order:

"Motions for reconsideration are not to be used as a

vehicle for a party to advance arguments that could and
should have been presented to the district court prior

to its original ruling." Villanueva v. United States,
662 F.3d 124, 128 (1st Cir. 2011) (citing United States
v. Allen, 573 F. 3d 42, 53 (lst Cir. 2009)). Plaintiffs

could have advanced this argument when they opposed the
Certification Motion, but they did not. 'Reconsideration
may be proper where the movant shows a manifest error of
law or newly discovered evidence, or where the district
court has misunderstood a party or made an error of
apprehension.' Id. (citing Ruiz Rivera v. Pfizer Pharm.,

LLC, 521 F.3d 76, 81-82 (lst Cir. 2008)). However,
Plaintiffs do not contend that the court committed a
"manifest error of law" in allowing the Romulus

Defendants' original Certification Motion. See id. Nor
have they presented newly discovered evidence. See id.
In addition, the court did not misunderstand or fail to
apprehend the theory of fraud that Plaintiffs advanced
when they opposed the Certification Motion. See id.
Therefore, Plaintiffs have not made the threshold
showing required for the court to reconsider the
Certification Order.

Dkt. No. 100 at 10-11. This all remains true.
In addition, the court now realizes that in the present

posture of this case Republic would, as required by Rule 16(b) (4),

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have to demonstrate that there is good cause to modify the jointly
proposed, court-ordered April 29, 2024 deadline for filing motions

to amend. See Dkt. No. 62 9 2; O'Connell v. Hyatt Hotels of Puerto

Rico, 357 F.3d 152, 154 (1st Cir. 2004). As Romulus argues, see
Dkt. No. 106 at 6-12, that may be a challenging ask.

In any event, allowing Republic's motion to file a Second
Amended Complaint to add new allegations of intracontractual
fraud, which could and should have been included in its original
Complaint and its Amended Complaint, would not serve the interests
of justice because, among other things, it would delay Romulus'
pursuit of an interlocutory appeal.

This case is more than two years old. If the First Circuit
accepts the appeal and decides that a non-reliance clause requires
dismissal of a case alleging fraud in the sale of securities based
only on alleged extracontractual representations and reverses this
court's ruling denying Romulus' motion to dismiss, Republic's
federal claims may be dismissed and its state law claims dismissed
without prejudice to being refiled in state court.

If this court's decision denying Romulus' motion to dismiss
is affirmed, the law to be applied in deciding any motion for
summary judgment and/or at trial will likely be clarified. This
will promote the probability that the ultimate decision in this

court will be legally correct and final.

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Therefore, the court is denying Republic's motion to file a
Second Amended Complaint without prejudice. It is also denying
Romulus’ motion for a stay pending appeal.

As this court has previously written:

The Supreme Court has stated that the factors regulating

the issuance of a stay pending appeal "are generally the

same" for a district court and for a court of

appeals. Hilton v. Braunskill, 481 U.S. 770, 776, 107
S. Ct. 2113, 95 L.Ed.2d 724 (1987). These factors are:

(1) whether the stay applicant has made a strong
showing that he is likely to succeed on the merits;
(2) whether the applicant will be irreparably
injured absent a stay; (3) whether issuance of the
stay will substantially injure the other parties
interested in the proceeding; and (4) where the
public interest lies.

The first prong of this test has not’ been
interpreted or applied literally, even by the Courts of
Appeals. Rather, it has been held that:

on motions for stay pending appeal the movant need
not always show a "probability" of success on the
merits; instead, the movant need only present a
substantial case on the merits when a serious legal
question is involved and show that the balance of
the equities weighs heavily in favor of granting
the stay.

Ruiz Vv. Estelle, 650 F.2d 555, 565 (5th Cir.
1981) (citing Providence Journal Co. v. Federal Bureau
of Investigation, 595 F.2d 889, 890 (lst Cir. 1979).

When the request for a stay is made to a district
court, common sense dictates that the moving party need
not persuade the court that it is likely to be reversed
on appeal. Rather, with regard to the first prong of
the Hilton test, the movant must only establish that the
appeal raises serious and difficult questions of law in
an area where the law is somewhat unclear.

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Canterbury Liquors & Pantry, 999 F. Supp. 144, 149-50 (D. Mass.

1998, appeal dismissed by Sea Shore Corp. v. Sullivan, 158 F.3d

Sl, 59 (1st Cir. 1998); see also Nken v. Holder, 556 U.S. 418,

425-26, 434 (2009) (reciting the four factors set out in Hilton's
longstanding standard).

As explained earlier, Romulus' appeal raises a serious and
difficult question of law in an area in which the law is unclear.
The court does not find that Romulus will be irreparably injured
in the absence of a stay. Unless otherwise ordered by the First
Circuit, Romulus will have to respond to requests for discovery
while pursuing its appeal. Romulus evidently has the resources to
conduct discovery and litigate its appeal simultaneously. If the
First Circuit reverses this court's decision denying the motion to
dismiss and the federal claims are dismissed, any discovery in
this case will be relevant to the foreseeable litigation of the
eleven pendent state law claims after they are refiled in state
court.

The court also finds that Republic will not be irreparably
harmed if a stay is not granted. Republic contends that it will be
prejudiced if EquipmentShare has an initial public offering before
this case is decided. That concern is hypothetical. The April 2024
media report on which it relies states only that EquipmentShare

was "in the early stages of exploring an initial public offering"

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and that one person said it "'may seek a first-time share sale
within the next 12 to 18 months.'" Dkt. No. 107, at 7. However,
"simply showing some possibility of irreparable injury" is not
sufficient to justify a stay. Nken, 556 U.S. at 434-35 (citation
and internal quotation omitted).

Moreover, the public interest will be served if discovery
proceeds while the interlocutory appeal is pursued and, if allowed,
decided. This case involves serious allegations of fraud. It is
already two years old. As indicated earlier, even if the First
Circuit reverses this court's denial of Romulus' motion to dismiss
and the pendent state law claims must be dismissed without
prejudice, discovery produced in this case will be relevant to
those claims when they are foreseeably pursued in state court. It
is in the interests of justice that Republic's claims of fraud be
decided as soon as possible in federal or state court. Denying the
motion to stay will serve that interest. In addition, it will serve
the interests of justice if the First Circuit decides the issue
presented in the proposed interlocutory appeal and thus clarifies
the relevant law for the purpose of this case and for comparable
future cases as well.

Accordingly, the court does not find that Romulus has proven

a stay pending appeal is warranted.

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TIl. ORDER

In view of the foregoing, it is hereby ORDERED that:

1. Republic's Motion to Amend Complaint (Dkt. No. 102) is
DENIED WITHOUT PREJUDICE.

2. Romulus' Motion to Stay Pending Appeal (Dkt. No. 104) is
DENIED.

3. Defendant and Counterclaim Plaintiff's Apollo 1, Inc.,
Athena 2, Inc., and SNC LLC's Motion to Join Romulus' Opposition
to Plaintiff's Motion to Amend (Dkt. No. 108) is ALLOWED.

4. The parties shall confer and, by November 1, 2024, propose,
jointly if possible but separately if necessary, a schedule for

completing fact and expert discovery.

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